Appellate
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                 IN THE UNITED STATES COURT OF APPEALS
                         FOR THE TENTH CIRCUIT

  RUSSELL G. GREER,
           Plaintiff-Appellant,

          v.                                      Civil Appeal No. 21-4128

  JOSHUA MOON, KIWI FARMS,
           Defendant-Appellees.

                       ENTRY OF APPEARANCE &
                  CERTIFICATE OF INTERESTED PARTIES

       Entry of Appearance: The undersigned as counsel hereby appears for Mr.

 Russell Greer, Plaintiff-Appellant in the above-captioned appeal.


       Certificate of Interested Persons: In addition to the Parties to the above-

 captioned appeal, the following potentially interested persons are hereby disclosed

 to the Court:

     • DIGITAL JUSTICE FOUNDATION (nonprofit law firm representing Plaintiff-
       Appellant Greer);

     • Mr. Andrew Grimm (nonprofit appellate counsel representing Plaintiff-
       Appellant Greer);

     • Mr. Gregory Keenan (nonprofit appellate counsel representing Plaintiff-
       Appellant Greer);

     • SKORDAS CASTON & HYDE (law firm representing Defendant-Appellees
       Moon, Kiwi Farms);

     • Mr. Gregory Skordas (appellate counsel representing Defendant-Appellees
       Moon, Kiwi Farms).

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                                                         Filed: 12/06/2021
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 Date: December 6, 2021               Respectfully submitted,

                                      /s/ Andrew Grimm
                                      Andrew Grimm
                                      DIGITAL JUSTICE FOUNDATION
                                      15287 Pepperwood Drive
                                      Omaha, Nebraska 68154
                                      (531) 210-2381
                                      Andrew@DigitalJusticeFoundation.org

                                      Attorney for Appellant




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Appellate
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                          CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing ENTRY OF

 APPEARANCE AND CERTIFICATE OF INTERESTED PARTIES with the

 Clerk of the Court for the United States Court of Appeals for the Tenth Circuit by

 using the appellate CM/ECF system.

       Participants in the case who are registered CM/ECF users will be served by

 the appellate CM/ECF system.


 Date: December 6, 2021                Respectfully submitted,

                                       /s/ Andrew Grimm
                                       Andrew Grimm




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